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AUG 31 2023
KEVIN 2. WEIMER, Clerk

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IN THE UNITED STATES DISTRICT cour?
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

UNITED STATES OF AMERICA

a Criminal Information

CHAD CHRISTOPHER STARK No. 1:23-CR-271

THE UNITED STATES CHARGES THAT:

Introduction

1. Atall times material to this Information unless otherwise set forth:

2. The defendant, CHAD CHRISTOPHER STARK, lived in or around
Leander, Texas.

3. Craigslist was an internet website featuring classified advertisements
posted by users to buy, sell, and find items and services, and to post
commentary, among other uses.

4. On or about January 5, 2021, STARK posted a message to Craigslist
entitled “Georgia Patriots it’s time to kill [Official A] the Chinese agent -

$10,000.” The message stated the following:

Georgia Patriots it’s time for us to take back our state from these Lawless
treasonous traitors. It’s time to invoke our Second Amendment right it’s
time to put a bullet in the treasonous Chinese [Official A]. Then we work
our way down to [Official B] the local and federal corrupt judges. It’s our
duty as American Patriots to put an end to the lives of these traitors and
take back our country by force we can no longer wait on the corrupt law
enforcement in the corrupt courts. If we want our country back we have to
exterminate these people.
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One good loyal Patriot deer hunter in camo and a rifle can send a very
clear message to these corrupt governors.. militia up Georgia it’s time to
spill blood. ... we need to pay a visit to [Official C] and her family as well
and put a bullet her behind the ears.

Let’s be very clear to our local law enforcement who have stood down and
watch BLM antifa destroy our country and kill our citizens yet you'll step
up to stop Patriot supporters you'll enforce face mask and you'll close
American businesses??? Remember one thing local law enforcement the
key word being local. .. . we will find you oathbreakers and we’re going to
pay your family to visit your mom your dad your brothers and sisters your
children your wife. .. we’re going to make examples of traitors to our
country. .. death to you and your communist friends.

5. The Craigslist message was viewable, and in fact was viewed by, persons
in the State of Georgia, including the Northern District of Georgia.

COUNT ONE

Threatening Use of Telecommunications Device
(Title 47, United States Code, Section 223(a)(1)(C))

6. On or about January 5, 2021, in the Northern District of Georgia and
elsewhere, the defendant, CHAD CHRISTOPHER STARK, did, in
interstate and foreign communications, utilize a telecommunication
device, whether or not conversation or communication ensued, without
disclosing his identity and with intent to threaten any specific person, by
posting a message on Craigslist, an internet website, containing a threat to
injure and kill government officials, including Official A, Official B,
Official C, and others.

All in violation of Title 47, United States Code, Section 223(a)(1)(C).
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